                      Case 3:18-md-02843-VC Document 899 Filed 03/31/22 Page 1 of 2


            1    GIBSON, DUNN & CRUTCHER LLP                    GIBSON, DUNN & CRUTCHER LLP
                 Orin Snyder (pro hac vice)                     Deborah Stein (SBN 224570)
            2      osnyder@gibsondunn.com                         dstein@gibsondunn.com
                 200 Park Avenue                                333 South Grand Avenue
            3    New York, NY 10166-0193                        Los Angeles, CA 90071-3197
                 Telephone: 212.351.4000                        Telephone: 213.229.7000
            4    Facsimile: 212.351.4035                        Facsimile: 213.229.7520
            5    Rosemarie T. Ring (SBN 220769)                 Joshua S. Lipshutz (SBN 242557)
                   rring@gibsondunn.com                           jlipshutz@gibsondunn.com
            6    Kristin A. Linsley (SBN 154148)                1050 Connecticut Avenue, N.W.
                   klinsley@gibsondunn.com                      Washington, DC 20036-5306
            7    Martie Kutscher (SBN 302650)                   Telephone: 202.955.8500
                   mkutscherclark@gibsondunn.com                Facsimile: 202.467.0539
            8    555 Mission Street, Suite 3000
                 San Francisco, CA 94105-0921
            9    Telephone: 415.393.8200
                 Facsimile: 415.393.8306
           10
                 Attorneys for Defendant Facebook, Inc.,
           11

           12
                                               UNITED STATES DISTRICT COURT
           13                                NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION
           14

           15

           16    IN RE: FACEBOOK, INC. CONSUMER                     CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
           17                                                       [PROPOSED] ORDER GRANTING
                                                                    FACEBOOK, INC.’S ADMINISTRATIVE
           18    This document relates to:                          MOTION TO FILE UNDER SEAL
                                                                    SPECIAL MASTER’S AMENDED
           19
                 ALL ACTIONS                                        SUPPLEMENTAL ORDER REGARDING
           20                                                       PRODUCTION OF ADI RELATED
                                                                    DOCUMENTS
           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP
                                                       [PROPOSED] ORDER
                                                     CASE NO. 3:18-MD-02843-VC
Case 3:18-md-02843-VC Document 899 Filed 03/31/22 Page 2 of 2
